      Case
       Case3:17-cv-00365
            18-30197 Document
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                              14-31 Filed
                                     FiledininTXSB
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                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page11ofof20
                                                                            20



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

LOCKWOOD INTERNATIONAL, INC.

VS.
                                                              CIVIL ACTION NO. _____________
WELLS FARGO BANK, NATIONAL
ASSOCIATION; WELLS FARGO
SECURITIES, LLC; and TRUSTMARK
NATIONAL BANK

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Plaintiff, Lockwood International, Inc., complaining of Defendants Wells

Fargo Bank, National Association, Wells Fargo Securities, LLC, and Trustmark National Bank,

respectfully showing as follows:

                                            I. PARTIES

       1.1     Plaintiff Lockwood International, Inc. (“LII”) is a Texas corporation with its principal

place of business in in Harris County, Texas.

       1.2     Defendant Wells Fargo Bank, National Association (“WFB”) is a National Banking

Association, formed under the laws of the United States, doing business in this District, Division,

and the State of Texas for the purpose of accumulating monetary profit. Wells Fargo Bank, National

Association’s principal place of business is South Dakota. For purposes of diversity of citizenship,

this Defendant is considered a citizen of the State of South Dakota. Wells Fargo Bank, National

Association is both a lender involved in a revolving line of credit provided to LII, as well as the

administrative agent for the lenders. This Defendant may be served with process through its




                                                C-1
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page22ofof20
                                                                            20



registered agent, Corporation Service Company at 211 East 7th Street, Suite 620, Austin, Texas

78701-3218.

        1.3     Defendant Wells Fargo Securities, LLC (“WFS”), is a Delaware limited liability

doing business in this District, Division, and the State of Texas for the purpose of accumulating

monetary profit. Wells Fargo Securities, LLC’s principal place of business is the state of North

Carolina. For diversity of citizenship purposes, this Defendant is considered a citizen of the states

of Delaware and North Carolina. Wells Fargo Securities, LLC, served as the sole lead arranger and

sole book manager for a loan provided to LII. This Defendant may be served with process through

its registered agent, Corporation Service Company d/b/a CSC - Lawyers Incorporating Service

Company at 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

        1.4     Defendant Trustmark National Bank (“Trustmark”) is a Foreign Financial Institution

formed under the laws of the United States, doing business in this District, Division, and the State

of Texas for the purpose of accumulating monetary profit. Trustmark National Bank’s principal

place os business is Mississippi. For purposes of diversity of citizenship, this Defendant is a citizen

of the State of Mississippi. Trustmark is a lender participant in a loan provided to LII. This

Defendant may be served with process through its registered agent, William S. Bridges, 945 Bunker

Hill, Suite 175, Houston, TX 77024.

        1.5     LII specifically invokes the right to institute this suit against whatever entities were

conducting business using an assumed or common name, if any, with regard to the events described

in this Complaint. LII specifically invokes the right to have the true name of such parties substituted

at a later time, if necessary.




                                                   2
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page33ofof20
                                                                            20



        1.6     All of the Defendants worked together in the actions alleged herein, participating in

an ongoing goal to force LII into liquidation, and are jointly and severally liable for the damages

sustained by LII.

                                II. JURISDICTION AND VENUE

        2.1     The Court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1) because

the suit is between a citizens of different states, and the amount in controversy exceeds $75,000,

excluding interest and costs.

        2.2     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to this claim occurred in the Southern District of Texas.

                                             III. FACTS

        3.1     Defendants have engaged in a course of conduct to bring a longstanding pillar of the

Houston business community to the brink of financial disaster. All of the Defendants conspired

together in reaching the decision to act or fail to act as further alleged below, and as if reading from

a book, following a script. The Defendants seized assets, wrongfully applied proceeds from sales,

failed to fund payroll, wrongfully devalued inventory, improperly seized insurance proceeds,

interfered with LII’s ability to pay vendors, and ignored Wells Fargo’s company-wide edict to

“proactively help[] customers in FEMA-declared areas” following Hurricane Harvey.

        3.2     Jennifer Norris a lead member of WFB’s Workout Group, proudly displays this quote

on her LinkedIn Professional Profile: “Honesty is an expensive gift, don’t expect it from cheap

people.” Apparently, Ms. Norris, as a lead member of WFB’s Workout Group, adhered to this

motto in pursuing a course of systematic destruction of LII. Unfortunately for LII, despite the vast

and unlimited resources that Defendants possess, it was not enough to instill honesty in any of the


                                                   3
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page44ofof20
                                                                            20



actions of the Wells Fargo group of companies or Trustmark. WFB and its affiliates and Trustmark

have now extracted everything of value from LII. Indeed, as in the Merchant of Venice, they are

trying to extract the last pound of flesh. It remains to be seen if the amount that was taken is enough

for the Defendants to honestly admit in this litigation their systematic and relentless destruction of

an iconic Houston business, even in the face of its struggles following Hurricane Harvey.

       3.3      Lockwood was founded in 1977, and grew into an international supplier of valves

and valve automation, offering pipe, valves, fittings and flanges, as well as engineered products for

liquid handling and transfer, liquid measurement, as well as access and safety equipment. LII has

been damaged by actions of Defendants during the relevant times alleged herein.

       3.4     On or about September 30, 2015, LII, together with other entities, and as part of an

ongoing relationship with Defendants, agreed to borrow funds from Defendants, including from

WFB and Trustmark as a lender participant, through a line of credit. Over the ensuing course of the

parties’ relationship, the Defendants began to exert more and more control over LII’s business, and

ultimately damaged LII’s ability to conduct business day to day.

       3.5     On or around November 2016, LII began to experience significant financial

difficulties following a series of events perpetrated by LII’s then-auditors, Chief Financial Officer,

and others. As these difficulties became more pronounced, LII asked to meet with representatives

of Defendants regarding the operation of the company going forward.

       3.6     Following this meeting, LII’s loan was moved from the “relationship” side of the

WFB to its “workout group,” a department within WFB that handles special assets. Wells Fargo

reassigns some commercial loans to this internal department to handle the negotiation and

management of the bank’s forbearance agreements. Contrary to its name, once a commercial loan


                                                  4
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page55ofof20
                                                                            20



has been sent to the Workout Group, the goal of Wells Fargo is not to “work out” loans with its

customers. Instead, the move signals the beginning of a process orchestrated by Defendants to

remove the customer’s loan from WFB’s existing loan portfolio, and in the case of LII, to destroy

its business.

        3.7     As part of this purported “workout” process, and at Defendants’ insistence, LII agreed

to hire various restructuring consultants, auditors and other service providers. LII relied on the

recommendations of Defendants in choosing these consultants, and in following their suggested

courses of action, all with the goal of guiding LII through its financial difficulties, and to emerge

from the workout process, and return to the prior beneficial relationship it enjoyed with Defendants.

Defendants were in a special position to provide guidance to LII during this period. However,

Defendants used this special position to exert additional influence over LII, and abuse that influence

while forcing LII to operate in such a way that its ruin was certain.

        3.8     From the point LII entered the workout process with Defendants, it continued to

operate to the best of its ability, and despite the strictures placed on it by Defendants. Relying in part

on information supplied to it by the consultants and auditors Defendants obligated LII to retain and

pay, Defendants began a systematic process of devaluing LII’s inventory, eliminating its borrowing

ability and thus its ability to generate revenue, all while more and more aggressively sweeping LII’s

accounts receivable collections of revenue and starving it of needed operating capital.

        3.9     By devaluing LII’s inventory, Defendants caused LII to suffer an “inventory default,”

and began to refer to LII’s assets and loan as “distressed.” This designation was specifically chosen

by Defendants to further its goals of destroying LII’s business. The default caused by Defendants’




                                                    5
        Case
         Case3:17-cv-00365
              18-30197 Document
                           Document
                                14-31 Filed
                                       FiledininTXSB
                                                 TXSDon
                                                      on01/24/18
                                                         11/30/17 Page
                                                                   Page66ofof20
                                                                              20



unreasonable and unfounded devaluation or reclassification of inventory as “distressed” resulted in

further restrictions on LII’s ability to operate.

         3.10   The basis for the reclassification was that the inventory had been in the company’s

possession for over 365 days. The reclassification completely ignored the realities of the business

that LII is engaged. The items sold by LII require in many cases six to nine months to manufacture.

The normal course of business requires production of pipes and flanges in advance of when they will

be needed by the end consumer. As a result, LII routinely carries inventory for more than one year,

but which has a high value. The lead time and relative rarity of this inventory benefits LII because

it is able to charge a premium for this inventory.

         3.11   In February 2017, while under substantial financial duress, LII entered into a new

credit agreement with Defendants, ostensibly to protect LII from foreclosure by Defendants, but

which applied further restrictions on LII’s operation, and strengthened Defendants’ control over LII’s

business. This agreement obligated LII to an aggressive reduction of the outstanding balance of the

credit line, and required an aggressive pay down schedule. LII was required to pay $5,400,000 to

the Defendants in order to pay down the credit line to $72,000,000. The credit agreement included

certain criteria and formulas that were required to be met by the company. One of the formulas was

an asset-coverage threshold that LII was required to meet. One part of this formula relied on the

inventory possessed by LII, but for an unjustified reason excluded any inventory held longer than 365

days.    The inventory held by LII longer than 365 days was reclassified by the Defendants as

“distressed.” This marked the first time that the Defendants began to strip liquidity from the

company. The removal of this cash began to severely restrict LII’s ability to pay it vendors, which

directly impacted its ability to provide material to its customers, the main source of LII’s revenues.


                                                    6
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page77ofof20
                                                                            20



       3.12    In the months that followed, Defendants began to exercise even further control,

ostensibly to maintain a debt level Defendants found acceptable. However, this level was not

consistent with the survival of LII as a going concern. LII had limited cash to pay vendors as a result

of unreasonable restrictions placed on LII’s operations by Defendants, and this inevitably resulted

in lower sales volumes. This further resulted in a spiral of increased debt levels, further cash

reductions by Defendants, and even further limits in sales. Despite all of this, LII continued to do

business, and was successful in servicing LII’s debt, even with the restrictions placed on it. In May

2017, LII had revenues approaching $21,000,000 which it hoped would demonstrate to Defendants

its operating capabilities, its ability to sustain itself and make its debt payments going forward.

       3.13    In a further move to solidify its operations, in late May 2017, LII undertook the sale

of a substantial amount of its assets in a single transaction from its Midwest operations to generate

enough cash to make payments to Defendants, a decision which was explained to Defendants, and

approved by them. Prior to the sale of these Midwest assets, Defendants hired a consultant to

evaluate the merits of the transaction. Although Defendants to date have refused to provide this

evaluation to LII, these consultants recommended Defendants should approve the Midwest

transaction so it could generate much needed capital to fund vendor payments, as well as fund an

upcoming payment to Defendants.

       3.14    Defendants did not object to the transaction, and the sale of the Midwest assets

proceeded in the ordinary course of business, and when concluded in June 2017, it generated

$4,800,000 for inventory sales, which together with the other revenue generated, was sufficient to

make the quarterly payment to Defendants. LII disclosed this sale as an ordinary course transaction

on its books, which Defendants were provided. Yet after the sale closed, Defendants collected the


                                                  7
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page88ofof20
                                                                            20



entire amount of the proceeds, released none for the payment of vendors, and refused to apply any

of the proceeds to the $5,000,000 payment due to Defendants as agreed, the main reason for the

transaction in the first instance.

        3.15    In further injury to LII, after the sale Defendants proclaimed the sale of Midwest

assets to not be in the ordinary course of business (even though the buyers purchased other inventory

outside of the larger transaction), and Defendants used this proclamation to support a further

declaration of default, even after Defendants’ own consultants recommended the sale be approved.

This further declaration of default by Defendants and the failure to apply the proceeds of an approved

sale to the pending payment due, caused the necessary liquidity of the business to be compromised,

and vendor debt to increase, in short causing a substantial cash crisis for LII.

        3.16    At the same time LII was selling its Midwest assets, it received interest from Tenex,

a private equity group with a portfolio of companies operating in similar markets as LII, about

potentially buying LII. Tenex submitted a proposal and requested a 30- day due diligence period.

Prior to this Defendants repeatedly represented to LII that its goal was to assist LII in any attempt

to either sell the company or refinance the credit agreements that were in place. Despite potential

interest from a buyer, who at the time was prepared to make an offer that would repay Defendants

100%, Defendants unilaterally and unreasonably rejected Tenex’s proposal, and instead required LII

to hire an investment banking firm to look for other potential purchasers.

        3.17    Despite the blows being dealt to it by Defendants, LII continued to show not just signs

of life, but signs of recovery. July 2017 was a record month. Revenue exceeded $14,900,000.

Margins were up 5% over historical averages, and LII showed profit for the month. For the six




                                                  8
      Case
       Case3:17-cv-00365
            18-30197 Document
                         Document
                              14-31 Filed
                                     FiledininTXSB
                                               TXSDon
                                                    on01/24/18
                                                       11/30/17 Page
                                                                 Page99ofof20
                                                                            20



month period ending in July 2017, LII had generated over $100,000,000 in revenue and had a

positive EBITDA. The company was anything but “distressed”.

           3.18   August 2017 began at a standard pace for the company. Historically, the company

invoices 30 to 40% of its revenue during the last week of the month. On August 25, 2017, Hurricane

Harvey struck the Gulf Coast inflicting billions of dollars of damage on Texas, and effectively

shutting down Houston’s economy for weeks. For LII, this could not have come at a worse time.

Areas affected by the hurricane represent half of LII’s revenues, and approximately 60% of its

profits.

           3.19   Despite the state of the Gulf Coast, and an inability to conduct business at the

beginning of September, LII still generated revenue in excess of $9,000,000. In addition, damages

to LII’s business interruption and materials were heavily insured, and estimates of these claims were

a minimum of $6,200,000 for business interruption, and a minimum of $7,300,000 for material and

property damage.

           3.20   On September 10, 2017, WFB emailed LII regarding the bank’s intentions following

the devastating hurricane. “Our hearts are with everyone impacted by the hurricane, and Wells Fargo

is doing everything we can to support recovery efforts. We know this can be a stressful time

financially, so we are committing to give affected customers additional support.” This hollow

promise could not have been further from the truth.

           3.21   On October 26, 2017, during a phone call with LII representatives, Defendants

advised they were disappointed in LII’s past results and the performance of its management.

Defendants took this position despite the record results of July, and positive performance in August




                                                  9
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page10
                                                                     10ofof20
                                                                            20



and September despite the damage inflicted by Hurricane Harvey on LII and its customers, and the

lingering effects on Houston’s economy.

        3.22    On November 1, 2017, LII received $3,850,000 from one of its insurers as an advance

payment for loss to property and material, and to assist the company with recovery. In establishing

the loss, the insurer verified the value of the damaged material was on average 27% higher than what

LII had recorded as its cost. This is in stark contrast to Defendants’ reclassification of this inventory

as distressed. On the same date, Defendants began requiring LII obtain authorizations for every

single company expenditure. It became impossible for LII to pay its vendors, or even its employees.

        3.23    Defendants over the course of the relationship with LII have arbitrarily designated its

valuable assets and inventory as “distressed,” declared defaults based on Defendants’ own activities,

and effectively took control of the company and placed it on a path towards liquidation. But despite

these efforts to drive LII to ruin, LII managed to exceed expectations. The starting balance on the

line of credit on November 1, 2016, was $76,384,833. The balance on November 16, 2017, was

$59,700,000.

        3.24    During 2017 LII made all required debt service payments and continued to deposit

receivables into its account at WFB. As of November 1, 2017, Defendants applied all money to

principal and interest on the loan, and prohibited LII from paying any vendors or employees.

Defendants have seized the assets of the company, refused to apply those assets to debt requirements,

and created events of default which would not otherwise have existed except for Defendants’ actions.

        3.25    In a particularly egregious example of the treatment of LII’s vendors, Defendants

were well aware of an agreement between LII and one of its important customers, Zachary, in which

Zachary would pay LII invoices, but only if LII immediately paid other important vendors on a large


                                                   10
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page11
                                                                     11ofof20
                                                                            20



project. This process was followed for months, but in November 2017, Defendants refused to allow

LII to make such a payment, and instead swept the Zachary payment to LII. This caused and

continues to cause damage to LII’s relationship with Zachary, other vendors, and current customers

of LII.

          3.26   Unfortunately, Defendants’ refusal to allow vendor payments in November 2017, in

particular the refusal to allow payment on the Zachary project, has forced LII to the brink of

liquidation. Wells Fargo will not approve vendor payments, as a result LII cannot obtain products

to provide its customers, and without those sales, LII cannot operate.

          3.27   After Hurricane Harvey hit, Defendants had two choices. They could either work

with a 40-year Houston-based corporation that employs over 250 people, or they could decide to

strangle the company and force it into liquidation. Defendants chose the latter.

                                    IV. CAUSES OF ACTION

          A.     Conversion

          4.1    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

          4.2    LII had a right to funds that were held by Defendants in LII’s accounts at WFB.

          4.3    The funds were the personal property of LII.

          4.4    The Defendants wrongfully exercised dominion or control over the funds,

wrongfully preventing LII from paying vendors and running the day to day operations of the

company.

          4.5    As a result of Defendants’ actions, LII suffered injury.

          4.6    As a result of sweeping funds out of LII’s accounts and preventing the company

from functioning in the ordinary course of business, LII was unable to continue its day-to-day


                                                  11
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page12
                                                                     12ofof20
                                                                            20



operation and fund. If Defendants are able to force liquidation of the company, it will cause

significant injury to LII, all proximately caused by the Defendants’ wrongful exercise of

dominion or control over LII’s funds.

       B.      Negligence

       4.7     LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

       4.8     Defendants had a duty to exercise ordinary care in the control exerted over LII’s

operations. Defendants actions have been taken based on fundamental misunderstandings of

LII’s business, and Defendants have further engaged in negligent acts and/or omissions resulting

in the injuries and damages suffered by LII. By exerting the degree of influence and control over

LII’s business, Defendants were under a duty to exercise that degree of influence and control

without causing harm to LII.

       4.9     Defendants’ conduct constituted a breach of this duty, and of the duty of ordinary

care. Defendants were negligent in one or more of the following respects:

               (a)    Failing to follow standard banking practices;

               (b)    Failing to allow LII to function normally;

               (c)    Failing to have adequate policies and procedures in place to ensure LII
                      operations proceeded in a commercially reasonable manner;

               (d)    Wrongfully and arbitrarily reclassifying inventory;

               (e)    Failing to understand the business of LII;

               (f)    Providing injurious business advice to LII;

               (g)    Causing LII to hire consultants and agents who, while paid for by LII,
                      operated in the best interest of Defendants, and against the best interest of
                      LII;



                                                12
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page13
                                                                     13ofof20
                                                                            20



                (h)      Refusing to authorize payments to vendors; and,

                (i)      Additional acts and omissions which will be identified during the
                         prosecution of this matter.

        4.10    Each of the above listed acts and/or omissions, taken singularly or in combination,

constitute negligence.

        4.11    Each of the above listed acts and/or omissions were an actual and proximate cause

of the damages made the basis of this lawsuit, and the injuries and damages suffered by LII.

        C.      Breach of Special Relationship

        4.12    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

        4.13    LII and Defendants had a special relationship that existed between them as a result

of their lengthy course of dealing. LII was wholly dependent on the Defendants to adequately

safeguard LII’s financial interests, in particular following Defendants’ imposition of its judgment

in LII’s operations.

        4.14    Defendants required LII to hire an “impartial” consultant and Chief Restructuring

Officer. Instead of recommending consultants who would place LII’s interests first, and execute

a plan to restructure LII’s business in a manner that ensured its success, Defendants

recommended entities which it controlled, and which were expected, and did, report to

Defendants in a manner which suited Defendants’ purposes. Having acquired this influence over

LII, Defendants abused that influence and operated their control over LII in a manner that would

lead not to its restructuring, but to its ruin.




                                                  13
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page14
                                                                     14ofof20
                                                                            20



       4.15    Prior to coming under the control of the workout group, the parties worked

together toward a mutual goal of success and prosperity for a lengthy period of time. Defendants

were aware that LII relied on it for advice.

       4.16    Based on their longstanding relationship with LII, and the control and influence it

exerted over LII, Defendants had reason to know LII placed is trust and confidence in

Defendants, and relied on Defendants to counsel and inform.

       4.17    Defendants and LII both understood a special trust or confidence had been

reposed.

       4.18    LII was dependent on the actions of Defendants, and the Defendants voluntarily

assumed a duty to advise, counsel, and protect LII.

       4.19    Defendants breached their obligations to LII, and are responsible for all damages

that resulted from such breach.

       D.      Tortious Interference with an Existing Contract

       4.20    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

       4.21    LII and a non party TIV Valves have a longstanding contractual relationship. The

relationship was extremely valuable and lucrative for LII. The valves and equipment provided by

TIV Valves are an essential part of LII’s business.

       4.22    Despite the Defendants’ actual awareness of agreements between LII and TIV

Valves, Defendants have willfully and intentionally interfered with the agreements by seizing

money from LII accounts which Defendants knew were vital to continuing the flow of goods

from TIV Valves to LII for sale to customers, and refusing to authorize payment of outstanding

invoices.


                                                14
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page15
                                                                     15ofof20
                                                                            20



       4.23    Since the Defendants have required preapproval of all expenditures, LII has

requested authorization of payment of these invoices. Defendants have refused.

       4.24    The relationship has deteriorated to the point that TIV Valves made demand on

LII for payment, and threatened it with legal action. Unfortunately, LII is powerless to pay TIV

Valves because of the control which Defendants exercise over LII.

       4.25    The Defendants had no interest in the contract with TIV Valves, and no legitimate

justification or excuse for the interference. TIV Valves has also been pushed to the edge of

bankruptcy, and is unable to fund payroll. Because LII cannot pay TIV Valves, TIV Valves’

sub-vendors have halted shipments to TIV Valves, material ultimately destined for LII and its

customers. TIV Valves’ machinists and operators are leaving the company because they have no

work. Production on projects related to Kinder Morgan, Williams, and Northern Natural Gas,

have all been impacted by delays. Without TIV Valves, the entire manufacturing potion of LII’s

business will be destroyed.

       4.26    The actions of the Defendants directly and proximately caused LII to suffer

monetary damages and loss.

       E.      Tortious Interference with Prospective Business Relations with Vendors

       4.27    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

       4.28    Although the Defendants are currently refusing to authorize any payments to LII’s

vendors, LII is still attempting to operate.

       4.29    There was a reasonable probability that LII and TIV Valves would have entered

into future agreements for valve and equipment manufacture and purchase. Absent interference




                                                15
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page16
                                                                     16ofof20
                                                                            20



from the Defendants, LII would have continued its business relationship with these and other

vendors in the future.

       4.30      Defendants had actual awareness of the ongoing relationships and future business

opportunities between LII and its vendors, and knew or should have known that their failure to

allow payment to these and other vendors would damage or destroy those relationships, as well

as the vendors’ businesses themselves.

       4.31      In reality, because Defendants have continually failed and refused wrongfully to

fund vendor payments, particularly when they had done so before, but recently stopped such

funding, Defendants have or will destroy LII’s relationships with its vendors. The interference

with these relationships has or will soon result in LII being replaced on ongoing and lucrative

projects because of LII inability to pay its vendors, a circumstance caused solely by Defendants

failure and refusal to allow these payments. Even if LII forestalls this economic disaster and is

not forced into liquidation, it will take years to repair the damage inflicted on vendor

relationships.

       F.        Tortious Interference with Prospective Business Relations with Clients

       4.32      LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

       4.33      The Defendants’ refusal to authorize vendor payments has also jeopardized LII’s

ability to enter future business relationships with longtime customers, including but not limited

to Zacharys and CB&I.

       4.34      There was a reasonable probability that LII would have entered into future

agreements at least with Zacharys and CB&I for valve and equipment purchase. Absent




                                                  16
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page17
                                                                     17ofof20
                                                                            20



interference from the Defendants, LII and these customers would have continued their business

relationships in the future.

        4.35    Despite the Defendants’ actual awareness of the ongoing relationship and future

business opportunities between LII and its major customers, it has interfered with LII’s ability to

operate with them, forcing a loss and destruction of that business.

        G.      Fraud

        4.36    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

        4.37    Throughout their relationship, Defendants and its agents made multiple

representations to LII. Defendants have repeatedly indicated that money earned by LII, for

example through the sale of the Midwest assets, could be utilized in the day to day operation of

the business, and for payments to the bank. LII relied on this representation and completed the

Midwest sale. However, contrary to its representations, Defendants did not apply funds from that

sale to the operation of the business, and even used the sale as a basis to declare a default on a

sale it had approved.

        4.38    The Defendants and its agents have also made representations regarding insurance

advances that have been received by LII. To date, one of LII’s insurers has advanced

$6,300,000.00 to LII for repairs and restoration efforts related to the business. Prior to receiving

the insurance, LII discussed the payments with Defendants. Defendants on multiple occasions

agreed to allow all of the insurance payments to be used to repair the business. The money was

critical for payment of vendors in the aftermath of the hurricane, but when the money was

transferred into LII’s account, it was taken by the Defendants. This was contrary to the repeated

representations that had been made.


                                                 17
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page18
                                                                     18ofof20
                                                                            20



        4.39    The Defendants representations were material. LII would not have sold its

Midwest assets if it knew that the Defendants intended to seize the proceeds, not apply them as

represented, refuse to accept the proceeds as payment for an existing obligation, and then use

their own failure to apply those proceeds to the existing obligation to declare a default.

        4.40    The representations from Defendants were false when made, and the Defendants

knew they were false.

        4.41    The Defendants made the representations with the intent LII act on them.

        4.42    LII relied on Defendants’ representations.

        4.43    The representation caused LII injury.

        H.      Breach of Duty of Good Faith and Fair Dealing

        4.44    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

        4.45    As a result of the special relationship of trust and confidence that existed between

LII and Defendants, Defendants were under a duty to exercise good faith and fair dealing in their

interactions with LII.

        4.46    In the alternative, as a result of the excessive lender control, and influence in,

LII’s business activities, a special relationship existed.

        4.47    Defendants breached their duty to LII by, among other things, refusing to allow

LII to pay its vendors, as more fully alleged above.

        4.48    Defendants’ breach cause proximately caused LII damages.

        I.      Unjust Enrichment

        4.49    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.




                                                  18
     Case
      Case3:17-cv-00365
           18-30197 Document
                        Document
                             14-31 Filed
                                    FiledininTXSB
                                              TXSDon
                                                   on01/24/18
                                                      11/30/17 Page
                                                                Page19
                                                                     19ofof20
                                                                            20



       4.50    Defendants have wrongfully secured a benefit by stripping value from LII which it

would be unconscionable for Defendants to retain.

       4.51    By their wrongful acts and omissions of material facts, Defendants were unjustly

enriched at the expense of LII.

       4.52    The LII was unjustly deprived of its capital, value, and livelihood by the acts of

Defendants.

       4.53    It would be inequitable and unconscionable for Defendants to retain the profit,

benefit and other compensation they obtained from their fraudulent, deceptive, and misleading

conduct alleged herein.

       J.      Gross Negligence

       4.54    LII re-alleges paragraphs 1.1 through 3.27 as though fully again set forth.

       4.55    The Defendants’ acts and/or omissions rose to the level of gross negligence and

warrant the imposition of exemplary damages.

       4.56    The acts and omissions of the Defendants involved an extreme degree of risk,

considering the probability and magnitude of harm to others, including the outright destruction of

a 40 year old Houston business, and the Defendants had actual, subjective awareness of the risks

but proceeded with conscious indifference to the rights, safety, and welfare of others.

                                         V. DAMAGES

       5.1     LII incorporates by reference the factual allegations contained in the preceding

paragraphs.

       5.2     As a result of Defendants’ actions, LII has suffered actual damages in an amount

exceeding $1,500,000,000.


                                                19
        Case
         Case3:17-cv-00365
              18-30197 Document
                           Document
                                14-31 Filed
                                       FiledininTXSB
                                                 TXSDon
                                                      on01/24/18
                                                         11/30/17 Page
                                                                   Page20
                                                                        20ofof20
                                                                               20



         5.3    Furthermore, given that Defendants’ conduct was committed intentionally,

knowingly, and with callous disregard of LII’s legitimate rights, LII is entitled to seek and does

seek exemplary damages in the amount of $1,500,000,000, or what is in the conscience of the

jury.

                               VI. REQUEST FOR JURY TRIAL

         6.1    LII demands a trial by jury herein.

         WHEREFORE, Lockwood International, Inc. prays for judgment against Defendants

Wells Fargo Bank, National Association; Wells Fargo Securities, LLC; and Trustmark National

Bank for: actual damages in an amount exceeding the jurisdictional limits of this Court;

exemplary damages; prejudgment and post-judgment interest; costs of suit; and for all such and

further relief to which they may show themselves justly entitled, in law or in equity.

                                              Respectfully submitted,


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